Case 2:04-cr-20009-STA Document 70 Filed 08/29/05 Page 1 of 3 Page|D 68

 

IN THE UNITED sTATEs DISTRICT coURT Hm BY..-. _*___D£
FoR THE wESTERN DISTRICT oF TENNESSEE
wEsTERN DIvIsIoN USAUG 29 AH 6= 142
Tt{)t!¢§?t.COULD
QEH§US.DISIRFCTOUBT
UN:TED STATES oF AMERICA w/DQFTN,MM

Plaintiff,

V.

Ftt HZ»'>< @REER

Criminal No.q%-l§v le

(60-Day Continuance)

 

 

 

 

 

V`_¢\/VV`_¢`_IVVV~_/V~_/~_#VVV\/\_r

Defendant(s).

 

CONSENT ORDER ON CRIMINAL CASE CONTINUANCEI
AND EXCLUSION OF TIME

 

As indicated by the signatures below, the United States,
through its Assistant United States Attorney, and counsel for the
defendant(s) have agreed that, for good cause, this case should
be continued for reasons resulting in the exclusion of time under
the Speedy Trial Act. The case is currently set on the September
2005, criminal rotation calendar, but is now RESET for report at
9:00 a.m. on Fridav, October 28, 2005, with trial to take place
on the November, 2005, rotation calendar with the time excluded
under the Speedy Trial Act through November lB, 2005. Agreed in

open court at report date this 26th day of August, 2005.

Thls document entered on the docket sheet 'n compliance 70
with P.u\e 535 and[cr 32(b) FRCrP on j w

Case 2:04-cr-20009-STA Document 70 Filed 08/29/05 Page 2 of 3 Page|D 69

SO ORDERED this 26th day of August, 2005.

w m w

 

ON PHIPPS MCCALLA
UN ED S'I`ATES DISTRICT JUDGE

7[§4~(7* <P. »4@\/1'\/

Assistant United States Attorney

MM

/\~/ r u?

 

 

 

 

 

 

Counsel for Defendant(s)

ISTRIC CoUR - WESTERN D's'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 70 in
case 2:04-CR-20009 Was distributed by faX, mail, or direct printing on
August 30, 2005 to the parties listed.

 

 

Stephen A. Sauer

LAW OFFICE OF STEPHEN A. SAUER
8 S. Third St.

4th Floor

i\/lemphis7 TN 38103

Tony R. Arvin

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

i\/lemphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

